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                                     Slip Op. 20-159

                  UNITED STATES COURT OF INTERNATIONAL TRADE


JINXIANG INFANG FRUIT & VEGETABLE CO., LTD.,
                        Plaintiff,

             v.

UNITED STATES,                                         Before: Leo M. Gordon, Judge

                        Defendant,
                                                       Court No. 19-00211
             and

FRESH GARLIC PRODUCERS ASSOCIATION,
CHRISTOPHER RANCH, L.L.C., THE GARLIC
COMPANY, and VALLEY GARLIC,

                        Defendant-Intervenors.



                                       OPINION

[Commerce’s New Shipper Review sustained.]

                                                             Dated: November 5, 2020

       Gregory Stephen Menegaz, Alexandra H. Salzman, and John Joseph Kenkel,
deKieffer & Horgan, PLLC, of Washington, DC, for Plaintiff Jinxiang Infang Fruit &
Vegetable Co., Ltd.
       Meen Geu Oh, Trial Attorney, Commercial Litigation Branch, Civil Division,
U.S. Department of Justice of Washington, DC, for Defendant United States. With him on
the brief were Jeffrey Bossert Clark, Assistant Attorney General, Jeanne E. Davidson,
Director, and Reginald T. Blades, Jr., Assistant Director. Of counsel on the brief was
Brendan Saslow, Attorney, U.S. Department of Commerce, Office of the Chief Counsel
for Trade Enforcement and Compliance of Washington, DC.
      Michael Joseph Coursey, John M. Herrmann II, and Joshua Rubin Morey, Kelley
Drye & Warren, LLP of Washington, DC, for Defendant-Intervenors Fresh Garlic
Producers Association, Christopher Ranch, LLC, The Garlic Company, and Valley Garlic.
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       Gordon, Judge: Among other guidance aimed at promoting the efficient disposition

of this action, the Scheduling Order cautioned Plaintiff, Jinxiang Infang Fruit & Vegetable

Co., Ltd. (“Infang”) “not to rely too heavily on its administrative case briefs” and not to

“merely cut-and-paste arguments from administrative case briefs, and think anew about

the issues against the operative standards of review the court must apply.” Scheduling

Order at 2, ECF No. 31. The Scheduling Order also cautioned that failure to heed the

guidance may result in the court “summarily sustaining Commerce’s action . . ..” Id. at 3.


       Plaintiff did not heed the cautionary guidance. Compare Pl.’s Mem. in Support of

Mot. for Judgment on Agency Record, ECF No. 32-2, with Infang Admin. Case Brief,

PD 1 110. Plaintiff also failed to disclose a related case on its Information Statement. See

Information Statement at 2, ECF No. 2 (omitting Shenzhen Xinboda Indus. Co. v. United

States, 42 CIT ___, 357 F. Supp. 3d 1295 (2018)).


       The court notified the parties that Plaintiff had largely replicated its administrative

case brief as its USCIT Rule 56.2 opening brief. See Letter Concerning Opening Brief,

ECF No. 33. The court then conducted a conference call, Teleconference, ECF No. 36,

and ordered Plaintiff to show cause why the court should not summarily sustain the

agency’s determination in Fresh Garlic from the People’s Republic of China, 84 Fed. Reg.

61,023 (Dep’t of Commerce Nov. 12, 2019) (final results new shipper review) (“New

Shipper Review”). See Memorandum and Order, ECF No. 37 (“Order to Show Cause”).



1
  “PD” refers to a document contained in the public administrative record, which is found
in ECF No. 29-3, unless otherwise noted. “CD” refers to a document contained in the
confidential administrative record, which is found in ECF No. 29-2.
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      Plaintiff submitted a lengthy apologia. Pl.’s Response to Court’s Request/Order to

Show Cause, ECF No. 38. Defendant and Defendant-Intervenor then filed their

comments. Defendant’s Resp. to Pl.’s Resp. to Order to Show Cause, ECF No. 40 (“Def’s

Resp.”); Def.-Intervenor’s Letter in Lieu of Comments Addressing Pl.’s Resp. to Order to

Show Cause, ECF No. 39. Defendant explains the problems with Plaintiff’s apologia and

opening brief:


      As Infang recognizes, the Court’s definition of a related case is fairly clear.
      The Court defines a “related case” as any “action . . . that involve{s} a
      common question of law or fact with any other action(s) previously decided
      or now pending.” Pl. Resp. to [Order to Show Cause], ECF No. 38 at 6.
      Infang then goes on, however, to insist that Xinboda is not a related case.
      In Xinboda, the Court addressed the same product and similar surrogate
      country and value issues the Court is being asked to decide in this case.
      The Court in Xinboda evaluated Commerce’s surrogate country and value
      determinations and rejected plaintiff’s challenges based upon a substantial
      evidence standard of review. Infang may disagree with the result in that
      case, but the case by virtue of the identity of the parties and the similarity of
      issues does appear to be encompassed under the Court’s “related case”
      definition.
      ...

      Infang knew that Xinboda would be important in this Court’s assessment of
      the matter. In the very first paragraph of its opening brief, Infang discloses
      that it understands that Commerce relied “primarily” on Xinboda in reaching
      a surrogate country decision. See Pl. Opening Br., ECF No. 32-2 at 1 (“The
      Department primarily rests its selection of Romania on this court’s opinion
      in {Xinboda}.”). Yet even with that acknowledgment, Infang omits any
      mention of Xinboda in its related case statement, and from there, mentions
      the case only once in passing in its opening brief, where it references a
      specific point relating to the translation of some articles in the record. Id.
      at 18.
      ...

      In addressing why it “simply copied its administrative case brief without a
      new evaluation of its case and arguments against the court’s standard of
      review and applicable precedents like Xinboda,” [Order to Show Cause],
      ECF No. 37 at 4, Infang seems to blame Commerce for its error. According
      to Infang, it copied its administrative case brief because Commerce “largely
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      ignored {its} arguments and record evidence{.}” Pl. Resp. to [Order to Show
      Cause], ECF No. 38 at 15. Infang insists that Commerce “added very little
      analysis that had not already been addressed in {its} administrative case
      brief,” and for that reason, it felt “its administrative case brief” was “already
      appropriately framed for its R56.2 brief before this Court.” Id.

      We disagree. We understand that Infang would like to persuade the Court
      that Commerce largely ignored Infang's arguments and record evidence,
      but saying so frequently does not establish the point. Infang must consider
      the parameters of this Court's standard of review and argue within those
      confines. This Court does not consider the merits of the matter de novo,
      and this Court's standard of review is not the standard that guides
      Commerce's decision making. We presume that Infang, in its case brief to
      Commerce, sought to persuade Commerce based upon the standards that
      guide Commerce's decision making. Before this Court, Infang should seek
      to persuade the Court based upon the standard of review that guides the
      Court's consideration of the challenged Commerce determination. Briefing
      the matter as it was briefed to Commerce, even assuming that the brief to
      Commerce should have been unquestionably persuasive within the
      confines of the standards that guide Commerce's decision making, ignores
      the standard of review that this Court applies when considering whether
      Commerce erred in its determination.

      Despite Infang’s claims otherwise, Commerce’s decision manifests that
      Commerce reviewed and assessed each of Infang’s arguments, Issues &
      Decisions Memorandum (IDM), ECF No. 29-4, and then explained why
      those arguments, based upon its review of the record evidence, were not
      persuasive, id. at 4-6, 7-8, 10-11, and 13-15. Contrary to Infang’s claim,
      Commerce’s decision addressed Infang’s arguments and then specifically
      rejected them based upon substantial evidence contained in the record.
      Despite these facts, Infang suggests that it acted reasonably to ignore
      Commerce’s decision in its opening brief because the decision itself “added
      very little analysis.” But the decision is what is under review. And Infang,
      which bears the burden of demonstrating Commerce erred, is responsible
      for explaining precisely why the decision cannot be sustained. Infang’s
      claim that it had no choice but to replicate an entire administrative case brief
      because Commerce supposedly “ignored Infang’s argumentation,” Pl.
      Resp. to OSC, ECF No. 37 at 18, even though Commerce’s decision clearly
      distills and addresses those arguments in reaching its determinations, is not
      supported by the record before the Court. In this Court, Infang must identify
      what part of Commerce’s decision it believes is wrong and why.

Def’s Resp. 2–5.
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      For the reasons explained by Defendant, Plaintiff’s arguments about why it

replicated its administrative case brief before the court are unpersuasive. Therefore,

Plaintiff’s Motion for Judgment on the Agency Record is denied, and Commerce’s

determination in the New Shipper Review is sustained. Judgment will be entered

accordingly.




                                                            /s/ Leo M. Gordon
                                                         Judge Leo M. Gordon




Dated: November 5, 2020
       New York, New York
